                                     Case 07-10134-RAM                           Doc 1          Filed 01/10/07                Page 1 of 8
(Official Form 1) (10/06)                                                                                                                                   Bar No#: 381624
                                           UNITED STATES BANKRUPTCY COURT
                                             SOUTHERN DISTRICT OF FLORIDA                                                                               Voluntary Petition
                                                     MIAMI DIVISION
Name of Debtor (if individual, enter Last, First, Middle):                                      Name of Joint Debtor (Spouse) (Last, First, Middle):
Staub, Maria

All Other Names used by the Debtor in the last 8 years                                          All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                     (include married, maiden, and trade names):




Last four digits of Soc. Sec./Complete EIN or other Tax I.D. No. (if more than one,             Last four digits of Soc. Sec./Complete EIN or other Tax I.D. No. (if more than one,
state all):  xxx-xx-4718                                                                        state all):
Street Address of Debtor (No. and Street, City, and State):                                     Street Address of Joint Debtor (No. and Street, City, and State):
555 NE 15th St., #20A
Miami, FL
                                                                        ZIP CODE                                                                                      ZIP CODE
                                                                          33132
County of Residence or of the Principal Place of Business:                                      County of Residence or of the Principal Place of Business:
Miami-Dade
Mailing Address of Debtor (if different from street address):                                   Mailing Address of Joint Debtor (if different from street address):
555 NE 15th St., #20A
Miami, FL
                                                                        ZIP CODE                                                                                      ZIP CODE
                                                                          33132
Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                      ZIP CODE


 Type of Debtor                                              Nature of Business                              Chapter of Bankruptcy Code Under Which
(Form of Organization)                                          (Check one box.)                                the Petition is Filed (Check one box)
              (Check one box.)
                                                   ¨    Health Care Business
                                                                                                 ¨   Chapter 7
 þ    Individual (includes Joint Debtors)          ¨    Single Asset Real Estate as defined
                                                        in 11 U.S.C. § 101(51B)
                                                                                                 ¨   Chapter 9                                  ¨ Chapter  15 Petition for Recognition
                                                                                                                                                  of a Foreign Main Proceeding
      See Exhibit D on page 2 of this form.
                                                   ¨    Railroad                                 þ   Chapter 11
 ¨    Corporation (includes LLC and LLP)                                                         ¨   Chapter 12                                 ¨ Chapter 15 Petition for Recognition
                                                   ¨    Stockbroker                                                                                  of a Foreign Nonmain Proceeding
 ¨    Partnership
                                                   ¨    Commodity Broker                         ¨   Chapter 13

 ¨    Other (If debtor is not one of the above
      entities, check this box and state type
                                                   ¨    Clearing Bank                                                 Nature of Debts (Check one box)
      of entity below.)                            ¨    Other
                                                                                                 þ   Debts are primarily consumer               ¨    Debts are primarily
                                                                 Tax-Exempt Entity                   debts, defined in 11 U.S.C.                     business debts.
                                                           (Check box, if applicable.)               § 101(8) as "incurred by an
                                                                                                     individual primarily for a
                                                        Debtor is a tax-exempt organization          personal, family, or house-
                                                   ¨    under Title 26 of the United States          hold purpose."
                                                        Code (the Internal Revenue Code).

                             Filing Fee (Check one box)                                                                           Chapter 11 Debtors
                                                                                                 Check one box:

 þ    Full Filing Fee attached                                                                   ¨   Debtor is a small business debtor as defined by 11 U.S.C. § 101(51D).
                                                                                                 þ   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                 Check if:
 ¨    Filing Fee to be paid in installments (applicable to individuals only). Must attach
      signed application for the court's consideration certifying that the debtor is
      unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.              ¨   Debtor's aggregate noncontigent liquidated debts (excluding debts owed to
                                                                                                     insiders or affiliates) are less than $2 million.
                                                                                                 Check all applicable boxes:
      Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
 ¨                                                                                                   A plan is being filed with this petition
      attach signed application for the court's consideration. See Official Form 3B.
                                                                                                 ¨
                                                                                                     Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                 ¨   of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                  THIS SPACE IS FOR COURT USE ONLY

 ¨    Debtor estimates that funds will be available for distribution to unsecured creditors.

 þ    Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
      there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors
   1-             50-         100-          200-         1,000-      5,001-     10,001-    25,001-         50,001-       OVER
   49             99          199           999           5,000      10,000     25,000     50,000          100,000      100,000
   þ            ¨             ¨             ¨                ¨         ¨            ¨           ¨            ¨             ¨
 Estimated Assets
      $0 to
   ¨  $10,000               ¨ $10,000
                              $100,000
                                      to
                                                     ¨ $100,000
                                                       $1 million
                                                                  to
                                                                              þ $1 million to
                                                                                $100 million         ¨ More than $100 million
 Estimated Debts
      $0 to
   ¨  $50,000               ¨ $50,000
                              $100,000
                                      to
                                                     þ $100,000
                                                       $1 million
                                                                  to
                                                                              ¨ $1 million to
                                                                                $100 million         ¨ More than $100 million
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                                     Case 07-10134-RAM                       Doc 1          Filed 01/10/07                Page 2 of 8
(Official Form 1) (10/06)                                                                                                                                          FORM B1, Page 2
 Voluntary Petition                                                                         Name of Debtor(s):    Maria Staub
 (This page must be completed and filed in every case)
                           All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location Where Filed:                                                                      Case Number:                                   Date Filed:
 None
Location Where Filed:                                                                      Case Number:                                   Date Filed:


        Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                     (If more than one, attach additional sheet)
Name of Debtor:                                                                            Case Number:                                   Date Filed:
 None
District:                                                                                  Relationship:                                  Judge:


                                         Exhibit A                                                                                 Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                               (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                  whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)         I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                            informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                            of title 11, United States Code, and have explained the relief available under each
                                                                                            such chapter. I further certify that I delivered to the debtor the notice required by
 ¨      Exhibit A is attached and made a part of this petition.
                                                                                            11 U.S.C. § 342(b).



                                                                                            X     /s/ Jordan E. Bublick                                              01/10/2007
                                                                                                 Jordan E. Bublick                                                      Date
                                                                                     Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

 ¨      Yes, and Exhibit C is attached and made a part of this petition.

 þ      No.

                                                                                     Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
      þ Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
        ¨ Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.
                                                                   Information Regarding the Debtor - Venue
 (Check any applicable box)

 þ      Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
        preceding the date of this petition or for a longer part of such 180 days than in any other District.


 ¨      There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

 ¨      Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
        principal place of business or assets in the United States but is a defendant in an action or proceeding (in a federal or state court) in this District,
        or the interests of the parties will be served in regard to the relief sought in this District.

                                       Statement by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes.)
 ¨      Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                                                                        (Name of landlord that obtained judgment)




                                                                                        (Address of landlord)

 ¨      Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire
        monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and


 ¨      Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the
        petition.

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                                     Case 07-10134-RAM                           Doc 1       Filed 01/10/07                 Page 3 of 8
(Official Form 1) (10/06)                                                                                                                                             FORM B1, Page 3
 Voluntary Petition                                                                          Name of Debtor(s):     Maria Staub
 (This page must be completed and filed in every case)
                                                                                        Signatures
             Signature(s) of Debtor(s) (Individual/Joint)                                                          Signature of a Foreign Representative
 I declare under penalty of perjury that the information provided in this petition is        I declare under penalty of perjury that the information provided in this petition is true
 true and correct.                                                                           and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7,
 11, 12 or 13 of title 11, United States Code, understand the relief available under
                                                                                             (Check only one box.)
 each such chapter, and choose to proceed under chapter 7.
 [If no attorney represents me and no bankruptcy petition preparer signs the
 petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                             ¨ ICertified
                                                                                                 request relief in accordance with chapter 15 of title 11, United States Code.
                                                                                                          copies of the documents required by 11 U.S.C. § 1515 are attached.

 I request relief in accordance with the chapter of title 11, United States Code,
 specified in this petition.                                                                 ¨ Pursuant to 11 U.S.C. § 1511, United States Code, I request relief in
                                                                                               accordance with the chapter of title 11 specified in this petition. A certified copy
                                                                                                 of the order granting recognition of the foreign main proceeding is attached.


 X     /s/ Maria Staub
      Maria Staub
                                                                                             X
                                                                                                 (Signature of Foreign Representative)
 X
                                                                                                 (Printed Name of Foreign Representative)
     Telephone Number (If not represented by an attorney)
     01/10/2007
     Date                                                                                        (Date)
                              Signature of Attorney                                                    Signature of Non-Attorney Bankruptcy Petition Preparer
                                                                                             I declare under penalty of perjury that: 1) I am a bankruptcy petition preparer as
 X     /s/ Jordan E. Bublick                                                                 defined in 11 U.S.C. § 110; 2) I prepared this document for compensation and
      Jordan E. Bublick                                Bar No. 381624                        have provided the debtor with a copy of this document and the notices and
                                                                                             information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, 3) if rules
                                                                                             or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a
 Jordan E. Bublick, P.A.                                                                     maximum fee for services chargeable by bankruptcy petition preparers, I have
 11645 Biscayne Blvd., Suite 305A                                                            given the debtor notice of the maximum amount before preparing any document
                                                                                             for filing for a debtor or accepting any fee from the debtor, as required in that
 Miami, FL 33181-3138
                                                                                             section. Official Form 19B is attached.


          (305) 891-4055
 Phone No.______________________        (786) 524-3886
                                 Fax No.______________________                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     01/10/2007
     Date                                                                                    Social Security number (If the bankruptcy petition preparer is not an individual,
                                                                                             state the Social Security number of the officer, principal, responsible person or
                                                                                             partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)


                Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this petition is
 true and correct, and that I have been authorized to file this petition on behalf of
 the debtor.
                                                                                             Address
 The debtor requests relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.
                                                                                             X
                                                                                                 Date
 X                                                                                           Signature of bankruptcy petiton preparer or officer, principal, responsible person, or
                                                                                             partner whose Social Security number is provided above.

                                                                                             Names and Social Security numbers of all other individuals who prepared or
     Printed Name of Authorized Individual
                                                                                             assisted in preparing this document unless the bankruptcy petition preparer is not
                                                                                             an individual:
     Title of Authorized Individual

                                                                                              If more than one person prepared this document, attach additional sheets
     Date                                                                                     conforming to the appropriate official form for each person.

                                                                                              A bankruptcy petition preparer's failure to comply with the provisions of title 11
                                                                                              and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                              imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
                           Case 07-10134-RAM               Doc 1       Filed 01/10/07          Page 4 of 8
Official Form 1, Exhibit D (10/06)        UNITED STATES BANKRUPTCY COURT
                                           SOUTHERN DISTRICT OF FLORIDA
                                                    MIAMI DIVISION
IN RE:   Maria Staub                                                                     Case No.
                                                                                                              (if known)

                     Debtor(s)

               EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                CREDIT COUNSELING REQUIREMENT


Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens,
you will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your
case is dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may
have to take extra steps to stop creditors' collection activities.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D.
Check one of the five statements below and attach any documents as directed.


þ   1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling
and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the services
provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

¨   2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit couseling
and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing the services
provided to me. You must file a copy of a certificate from the agency describing the services provided to you and a copy of any
debt repayment plan developed through the agency no later than 15 days after your bankruptcy case is filed.


¨    3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during
the five days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit
counseling requirement so I can file my bankruptcy case now.          [Must be accompanied by a motion for determination by the
court.] [Summarize exigent circumstances here.]




If the court is satisfied with the reasons stated in your motion, it will send you an order approving your request. You must
still obtain the credit counseling briefing within the first 30 days after you file your bankruptcy case and promptly file a
certificate from the agency that provided the briefing, together with a copy of any debt management plan developed through
the agency. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. A
motion for extension must be filed within the 30-day period. Failure to fulfill these requirements may result in dismissal of
your case. If the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
counseling briefing, your case may be dismissed.
                           Case 07-10134-RAM               Doc 1     Filed 01/10/07         Page 5 of 8
Official Form 1, Exhibit D (10/06)        UNITED STATES BANKRUPTCY COURT
                                           SOUTHERN DISTRICT OF FLORIDA
                                                    MIAMI DIVISION
IN RE:   Maria Staub                                                                  Case No.
                                                                                                           (if known)

                     Debtor(s)

               EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                CREDIT COUNSELING REQUIREMENT
                                                        Continuation Sheet No. 1



¨   4. I am not required to receive a credit counseling briefing because of:    [Check the applicable statement.] [Must be
accompanied by a motion for determination by the court.]

         ¨    Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to
              be incapable of realizing and making rational decisions with respect to financial responsibilites.);


         ¨    Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable
              effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);


         ¨    Active military duty in a military combat zone.

¨   5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of
11 U.S.C. § 109(h) does not apply in this district.


I certify under penalty of perjury that the information provided above is true and correct.


Signature of Debtor:    /s/ Maria Staub
                       Maria Staub

Date:       01/10/2007
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B201 (04/09/06)                           UNITED STATES BANKRUPTCY COURT
                                           SOUTHERN DISTRICT OF FLORIDA
                                                    MIAMI DIVISION
IN RE:   Maria Staub




                    NOTICE TO INDIVIDUAL CONSUMER DEBTOR(S) UNDER § 342(b)
                                    OF THE BANKRUPTCY CODE
In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services available from credit
counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of bankruptcy proceedings you may
commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General may examine all information
you supply in connection with a bankruptcy case. You are cautioned that bankruptcy law is complicated and not easily
described. Thus, you may wish to seek the advice of an attorney to learn of your rights and responsibilities should you decide to
file a petition. Court employees cannot give you legal advice.


1. Services Available from Credit Counseling Agencies
With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy relief on
or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and provides
assistance in performing a budget analysis. The briefing must be given within 180 days BEFORE the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator.
The clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies.

In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

Chapter 7:     Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)
1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted
to proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in
some cases, creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It
is up to the court to decide whether the case should be dismissed.

2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.

3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it
does, the purpose for which you filed the bankruptcy petition will be defeated.

4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not
properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or
aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty,
or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income
($235 filing fee, $39 administrative fee: Total fee $274)
1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over
a period of time. You are eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.

2. Under Chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
                         Case 07-10134-RAM                 Doc 1       Filed 01/10/07           Page 7 of 8
B201 (04/09/06)                           UNITED STATES BANKRUPTCY COURT                                                              Page 2
                                           SOUTHERN DISTRICT OF FLORIDA
                                                    MIAMI DIVISION
IN RE:   Maria Staub




3. After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in
your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

Chapter 12: Family Farmer or Fisherman               ($200 filing fee, $39 administrative fee: Total fee $239)
Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily
from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the
United States Trustee, the Office of the United States Attorney, and other components and employees of the Department of
Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local
rules of the court.

                          Certificate of Compliance with § 342(b) of the Bankruptcy Code
I,              Jordan E. Bublick                    , counsel for Debtor(s), hereby certify that I delivered to the Debtor(s) the Notice
required by § 342(b) of the Bankruptcy Code.

/s/ Jordan E. Bublick
Jordan E. Bublick, Attorney for Debtor(s)
Bar No.: 381624
Jordan E. Bublick, P.A.
11645 Biscayne Blvd., Suite 305A
Miami, FL 33181-3138
Phone: (305) 891-4055
Fax: (786) 524-3886
E-Mail: jbublick@bublicklaw.com




                                                     Certificate of the Debtor
I (We), the debtor(s), affirm that I (we) have received and read this notice.

Maria Staub                                                            X /s/ Maria Staub                                01/10/2007
                                                                        Signature of Debtor                             Date
Printed Name(s) of Debtor(s)
                                                                       X
Case No. (if known)                                                        Signature of Joint Debtor (if any)           Date
                      Case 07-10134-RAM     Doc 1   Filed 01/10/07      Page 8 of 8
                                  UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                            MIAMI DIVISION
  IN RE:                                                    CHAPTER     11
  Maria Staub



  DEBTOR(S)                                                 CASE NO



                                   LIST OF EQUITY SECURITY HOLDERS

Registered Name of Holder of Security          Class of Security      Number Registered   Kind of Interest
Last Known Address or Place of Business                                                   Registered
